          Case 2:10-cv-04374-CDJ Document 182 Filed 08/29/18 Page 1 of 5



                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ROBERT FOX, et al.
    v.                                     Civil Action No. 06-cv-4679
HOME CARE HOSPICE,INC., et al.

PETER BISTRIAN
     v.                                    Civil Action No. 08-cv-3010
WARDEN TROY LEVI, et al.

JASON DEMKO, et al.
     v.                                    Civil Action No. 08-cv-4623
SYNTHES,INC.

STEPHEN KRAHLING, et al.
     v.                                    Civil Action No. l0-cv-4374
MERCK & CO.

DONALD PALMER, et al.
     v.                                    Civil Action No. l2-cv-907
C&D TECHNOLOGIES

JESSE POLANSKY, M.D., et   al.       :
     v.:                                   Civil Action No. l2-cv-4239
EXECUTIVE HEALTH RESOURCES           :



RONALD STRECK, et al.
     v.                                    Civil Action No. l3-cv-7547
BRISTOL.MYERS SQUIBB
COMPANY, et al.

CUSTOMS FRAUD INVESTIGATIONS         :
     v.:                                   Civil Action No. 13-cv-2983
VICTAULIC     COMPANY                :



SHELDON PINK, et al.
     v,                                    Civil Action No. l3-cv-4942
ELIZABETH KHAN, M.D., et al.

SARAH BEHNKE, et al.
     v.                                    Civil Action No. l4-cv-824
CVS CAREMARK CORP., et al.
           Case 2:10-cv-04374-CDJ Document 182 Filed 08/29/18 Page 2 of 5



ERICKA DESJARDINS, et al.
     v.                                     Civil Action No. l4-cv2039
TREE OF LIFE BEHAVIORAL
SERVICES,INC., et al.

TERRY JACKSON, et al.
      v.                                    Civil Action No. 15-cv-20
DEPAUL HEALTH SYSTEM, et al.

SANDRA WESTRAY, et al.
    v                                       Civil Action No. 15-cv-3095
MERCY LIFE, et al.

SUSAN CLASS, et al.
     v.                                     Civil Action No. 16-cv-680
BAYADA HOME HEALTH CARE, et al.

UNITED STATES OF AMERICA
      v.                                    Civil Action No. 16-cv-2115
CLINICAL CORP., et al

UNITED STATES OF AMERICA
      v.                                    Civil Action No. 16-cv-5203
AMGEN, LLC, et al.

THE WOLK FIRM
      v.                                    Civil Action No. 16-cv-5632
UNITED STATES OF AMERICA, et al.

ANTHONY       GOLDBERG                 :
      v.:                                   Civil Action No. l7-cv-176
UNITED STATES OF AMERICA, et al.       :



ESTATE OF ANTHONY KENDRELL
     v.                                     Civil Action No. l7-cv-229
DEFENSE LOGISTICS AGENCY, et al.

UNITED STATES OF AMERICA
      v.                                    Civil Action No. l7-cv-710
J&B POULTRY MARKET, et al.

JOHN BESSE
      v.                                    Civil Action No. 17-cv-801
UNITED STATES OF AMERICA
          Case 2:10-cv-04374-CDJ Document 182 Filed 08/29/18 Page 3 of 5




BLANCHE BROWN
     v.                                    Civil Action No. 17-cv-1551
UNITED STATES OF AMERICA, et al.

NHCA.TEV, LLC
     v.                                    Civil Action No. l7-cv-2040
TEVA PHARMACEUTICAL
PRODUCTS, LTD, et al.

BRADLEY KURTZ, et al.
     v.                                    Civil Action No. l7-cv-2283
DEPARTMENT OF EDUCATION
CONSERVE

EDWARD WILLIAMS
     v,                                    Civil Action No. l7-cv-2641
U.S. ATTORNEY GENERAL, et al.

TAMMIE ROSADO
     v.                                    Civil Action No. 17-cv-5253
UNITED STATES OF AMERICA, et al.

FELICITA SANCHEZ-GARCIA
     v.                                    Civil Action No. 17-cv-5387
UNITED STATES OF AMERICA

AYO TAPSON
     v.                                    Civil Action No. l8-cv-442
UNITED STATES OF AMERICA

WILLIAM JENNINGS
     v.                                    Civil Action No. 18-cv-461
UNITED STATES OF AMERICA

JOSEPH RISDORFER
     v.                                    Civil Action No. 18-cv-592
UNITED STATES OF AMERICA

PRISCILLA GIUSEFFI
     v.                                    Civil Action No. l8-cv-622
KIRSTJEN NIELSEN
          Case 2:10-cv-04374-CDJ Document 182 Filed 08/29/18 Page 4 of 5



                             WITHDRAWAL OF APPEARANCE

         Kindly withdraw my appearance in all of the above captioned   cases.


                                                    Respectfully submitted,




Dated:   xlztf zn n
                                                                   L. HUTCHINSON
                                                              United States Attorney
                                                    615 Chestnut Street, Suite 1250
                                                    Philadelphia, PA 19106
          Case 2:10-cv-04374-CDJ Document 182 Filed 08/29/18 Page 5 of 5



                                    CERTIFICATE OF SERVICE

         I hereby certify that on this date,   a true and correct copy   of the foregoing Entry of

Appearance was filed and available through the Court's ECF filing system in the above-

captioned cases.




Dated:   z(21 f u,z
                                                                          L.
                                                                     United States Attorney
